                  IN THE UNITED STATES DISTRICT COURT
             FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                           STATESVILLE DIVISION
_______________________________________
                                        )
UNITED STATES OF AMERICA                )  Docket No. 5:15-cr-68-1-RLV
                                        )
            v.                          )
                                        )
(5) TEOFILO SALINAS CERVIN              )  ORDER
_______________________________________ )



       This matter is before the Court on the Motion of the United States of America to dismiss

the charges against Defendant TEOFILO SALINAS CERVIN in the Bill of Indictment in the

above-captioned case without prejudice, because he has pleaded guilty to a related charge in the

Bill of Indictment in WDNC Docket Number 5:16cr20-RLV.

       It is hereby ordered that the motion be GRANTED and the charges against Defendant

TEOFILO SALINAS CERVIN in the above-captioned Bill of Indictment be dismissed without

prejudice.




                                         Signed: April 27, 2016




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